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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  25-CR-20102-RUIZ/LOUIS
                             Case No. - - - - - - - - - - - - -
                                      18 u.s.c. § 1959


  UNITED STATES OF AMERICA

  vs.                                                                             BM

  JOSE EZEQUIEL GAMEZ-MARA VILLA,
                 a/k/a "Chango,"                                        Mar 6, 2025
  HUGO ADIEL BERMUDEZ-MARTINEZ,
                 a/k/a "Blue,"
                                                                                     MIAMI
  and
  WILBER ROSENDO NAVARRO-ESCOBAR,
                 a/k/a "Power,"

                               Defendants.
  - - - - - - - - - - - - - - - - -I
                                           INDICTMENT

         The Grand Jury charges that:

                                  GENERAL ALLEGATIONS

         At    all   times    material     to   this   Indictment,   unless   otherwise      stated:

                                         Background of MS-13

         1.     The defendants, JOSE EZEQUIEL GAMEZ-MARA VILLA, a/k/a "Chango,"

  HUGO ADIEL BERMUDEZ-MARTINEZ, a/k/a "Blue," and WILBER ROSENDO

  NAVARRO-ESCOBAR, a/k/a "Power," were members and associates of La Mara Salvatrucha,

  also known as "MS -13." MS-13 is a violent, transnational criminal organization involved in a

  variety of criminal activities, including murder, aggravated assault, extortion, abduction,

  kidnapping, obstruction of justice, and drug trafficking in the Southern District of Florida and

  elsewhere.
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          2.      MS-13 members and associates are located throughout the United States, including

  m   ew York, Virginia, Mary land, Florida, and California. MS-13 also has a large international

  presence in El Salvador, Guatemala, Honduras, and Mexico. MS-13 recruited members and

  associates predominantly from the Hispanic community.

          3.     MS-13 originated in the 1980's in the United States among Central American

  immigrants in southern California. Numerous MS-13 members were deported from the United

  States back to El Salvador and other Central American countries in the 1990' s. These members

  grew the gang in El Salvador, Honduras, and Guatemala, and expanded MS-13 across the United

  States, including to the Southern District of Florida. MS-13 also developed rules for members and

  a leadership hierarchy.

         4.      MS-13's national and international leadership is concentrated primarily in

  California and El Salvador. Many of these high-ranking MS-13 members are incarcerated and

  participate in the gang ' s affairs by using contraband cellular telephones.

         5.      MS -1 3 is organized into a series of sub-units, or "cliques," that operate in specific

  geographic locations. Although each clique has its own internal traditions, all MS-13 cliques

  adhere to the same basic structure, customs, protocols, and objectives. According to MS-13 rules,

  any act committed in furtherance of a clique is, by definition, committed in furtherance of MS-13

  as a whole.

          6.     Each clique is controlled by a single leader, sometimes known as the "First Word,"

  "Primera Palabra," or "Palabrero."      The First Word is responsible for, among other things,

  supervising a clique' s activities, authorizing and assigning gang members to carry out violent acts,

  and disciplining gang members.        A clique' s leadership often includes at least one deputy,




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  sometimes known as the "Second Word," who consults with the First Word and weighs in on

  planned gang activity.

          7.     Sometimes, MS-13 cliques within a paiiicular geographical area are grouped

  together into a regional organization known as a "program." For example, numerous MS-13

  cliques located on the East Coast of the United States were historically part of the "East Coast

  Program."

          8.     Individuals who associate and commit crimes with the gang are called "paisas,"

  "paros," or "observaciones."      Individuals who are attempting to join the gang are called

  "chequeos," or "cheqs." Chequeos undergo a probationary period during which they are required

  to commit crimes on behalf of MS-13 to garner trust and prove their loyalty to the gang. To join

  MS-13 and become full members, or "homeboys," prospective members are required to complete

  an initiation process, often referred to as being "jumped in," or "beat in," to the gang. During that

  initiation, other members of MS-13 will beat the new member, usually until a gang member is

  finished counting aloud to the number thirteen, representing the " 13 " in MS-13.

         9.      MS-13 members demonstrate their affiliation with the gang in vanous ways,

  including: wearing blue and white clothing, hats, bandanas, and other accessories in reference to

  the Salvadoran flag , or Los Angeles Dodgers apparel in reference to the city of the gang's

  founding; displaying tattoos signifying membership in a particular clique, or in MS-13 generally;

  and using a system of verbal codes and hand signals to communicate with each other. Some MS-

  13 members have chosen not to have tattoos or to have them placed on areas where they can be

  easily covered, such as the hairline, in order to conceal their gang affiliation from law enforcement.




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          10.    MS-13 members are required to follow various rules. In most cases, gang members

  who violate the rules are punished with a beating, a practice commonly refened to as "corte" or

  "calenton. "

          11.    Cooperation with law enforcement is strictly prohibited under MS-13 's rules. It is

  well understood within the gang that anyone who assists the authorities will be punished with

  death, and that the gang honors those who have killed police informants.

          12.    MS-13 cliques fund their activities in part through the payment of dues by its

  members. Under this scheme, MS-1 3 members are required to make regular tribute payments to

  their respective cliques. A portion of this money is typically kicked back to gang leaders in El

  Salvador, or to leaders of a program. The remainder of the money is typically used to purchase

  firearms and other weapons for use in violent acts, to purchase drugs for redistribution, to supp01i

  incarcerated gang members, or to finance other gang-related activity. Failure to make timely dues

  payments is considered to be a violation of gang rules, generally punishable by a beating.

          13 .   Sometimes, MS-13 cliques will also extort legitimate and illegitimate businesses

  operating in the gang's tenitory, threatening the business owners and/or their family members with

  violence if they do not make payments to MS-13.

          14.    MS-13 members meet regularly to discuss the gang activity. At these meetings,

  sometimes refened to as "misas," "masses," or "church," members of a clique discuss their recent

  criminal activities and plan future violent acts. The First Word and/or their deputies preside over

  the meetings, lead discussions, and issue orders.

          15.    One of MS-1 3' s primary goals is to destroy its rival gangs, which vary depending

  on location, but generally include the 18 th Street Gang, Brown Pride, and the Latin Kings. Gang

  rules require that MS-13 members confront, fight, and/or kill rival gang members when possible.



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  MS-13 members sometimes refer to rival gang members using derogatory names, including

  "chavalas" (for any rival gang member).

          16.    MS-13 retaliates quickly and viciously against anyone who disrespects or threatens

  the gang' s authority, power, reputation, or control of a neighborhood. Within MS-13, participation

  in criminal activity by a member or associate, particularly violent acts directed at rival gangs or as

  directed by gang leadership, increases the respect accorded to that member or associate, results in

  associates and members earning membership, maintaining, or increasing their position in the gang,

  and could result in a promotion to a leadership position.

         17.     When a rival gang member, disloyal and/or disobedient gang member, or other

  individual is ordered to be killed, he is said to be "green lighted." Obtaining a "green light"

  typically requires the authorization of a clique leader and, in some cases, approval from gang

  leaders in California or El Salvador.     When preparing to kill a rival gang member or other

  individual, MS-13 cliques often assign gang members to follow, or "watch," the targeted

  individuals to learn their patterns and movements, enabling the gang to carry out the murders at

  opportune times, without alerting law enforcement.

         18.     One of the MS-13 cliques that operated in the Southern District of Florida is

  Guanacos Lil Cycos Salvatruchas, also known as "GLCS." The GLCS clique and its leaders,

  members, and associates adhere to the same basic structure, customs, protocols, and objectives

  shared by other MS-13 cliques, as described above.           The defendants, JOSE EZEQUIEL

  GAMEZ-MARAVILLA, a/k/a "Chango," HUGO ADIEL BERMUDEZ-MARTINEZ, a/k/a

  "Blue," and WILBER ROSENDO NAVARRO-ESCOBAR, a/k/a "Power," were members or

  associates of MS-13, and associated with each other and members and associates of the GLCS

  clique in the Southern District of Florida.



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                            Enterprise Engaged in Racketeering Activity

          19.    At all times relevant to this Indictment, MS-13 , including its leadership,

  membership, and associates, constituted an enterprise, as defined in Title 18, United States Code,

  Section 1959(b)(2), that is, a group of individuals associated in fact that engaged in, and the

  activities of which affected, interstate and foreign commerce ("the MS -13 enterprise"). The MS-

  13 enterprise constituted an ongoing organization whose members functioned as a continuing unit

  for a common purpose of achieving the objectives of the enterprise.

                                      Purposes of the Enterprise

         20.     The purpose of the MS-13 enterprise, including its members and associates,

  include, but are not limited to, the following:

                 a. Preserving and protecting the power, territory, reputation, and profits of the

                     enterprise through the use of intimidation, threats of violence, and violence,

                     including assaults and murder;

                 b. Promoting and enhancing the enterprise and the activities of its leaders,

                     members, and associates, including, but not limited to, murder, extortion, drug

                     trafficking, and other criminal activities;

                 c. Keeping victims, potential victims, and community members in fear of the

                     enterprise through violence and threats of violence;

                 d. Providing financial support and information to gang leaders, members, and

                     associates, including individuals incarcerated in the United States and El

                     Salvador; and

                 e. Providing assistance to gang leaders, members, and associates who committed

                     crimes on behalf of the enterprise.



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          21.     At all times relevant to this Indictment, the MS-13 enterprise, tlu·ough its leaders,

  members, and associates, engaged in racketeering activity, as defined in Title 18, United States

  Code, Sections 1959(b)(l) and 1961(1), that is, acts involving murder and extortion, in violation

  of Florida Law; offenses involving drug trafficking, in violation of Title 21, United States Code,

  Sections 846 and 841; and acts indictable under Title 18, United States Code, Section 1951 (relating

  to interference with interstate and foreign commerce by robbery and extortion), and Title 18,

  United States Code, Section 1956 (relating to money laundering).

                                 Means and Methods of the Enterprise

          22.    The means and methods by which members and associates of the MS-13 enterprise

  conduct and participate in the conduct of the affairs of the enterprise include, but are not limited

  to, the following:

                 a. Members and associates of the enterprise attend regular meetings where gang

                       membership, gang business, and criminal incidents are discussed; financial

                       proceeds from criminal and other activity (including drug trafficking) are

                       collected as "dues" to benefit the enterprise and its leaders and members; and

                       disciplinary beatings of fellow MS-13 members are administered.

                 b. To enforce discipline within the enterprise, members and associates of the

                       enterprise punish errant gang members and associates for violations of gang

                       rules. Administration of such punishment is referred to as a "violation" and

                       commonly involves a physical assault of the offending member or associate.

                  c. To generate income, MS-13 members and associates engage in illegal activities

                       under the protection of the enterprise, including drug trafficking, robbery,

                       extortion, and other illegal activities.



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             d. For protection, attacks, and armed combat, MS-13 members and associates

                  acquire, share, carry, and use firearms and knives.

             e. Members and associates of the enterprise use gang-related terminology,

                  symbols, phrases, and gestures to demonstrate affiliation with the gang.

             f.   Members and associates of the enterprise use cellphones and social media to

                  communicate with one another and post on social media websites, such as

                  Facebook and Instagram, messages, comments, videos, and photographs

                  referring to, among other things, shootings, violent acts, firearms, and drug

                  trafficking.

             g. To perpetuate the enterprise and to maintain and extend their power, members

                  and associates of the enterprise commit and conspire to commit acts involving

                  murder, intimidation, and assault against individuals who pose a threat to the

                  enterprise or jeopardize its operations, including rival gang members, MS-13

                  gang members and associates who have violated the gang's rules or otherwise

                  shown disrespect to the gang, and witnesses to illegal activities of the enterprise.

             h. Members and associates of the enterprise hide, misrepresent, conceal, and cause

                  to be hidden, misrepresented, and concealed, the objectives of acts done in

                  furtherance of the enterprise, and use coded language and other means of

                  communication to avoid detection and apprehension by law enforcement

                  authorities.




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                                             COUNTl
                                Murder in Aid of Racketeering Activity
                                           (18 u.s.c. § 1959)

            1.     Paragraphs 1 through 22 of this Indictment are incorporated as if fully set forth

  herein.

            2.     On or about May 3, 2015 , in Broward and Palm Beach Counties, in the Southern

  District of Florida, the defendants,

                             JOSE EZEQUIEL GAMEZ-MARA VILLA,
                                       a/k/a "Chango,"
                             HUGO ADIEL BERMUDEZ-MARTINEZ,
                                      a/k/a "Blue," and
                            WILBER ROSENDO NAVARRO-ESCOBAR,
                                        a/k/a "Power,"

  along with others known and unknown to the Grand Jury, for the purpose of gaining entrance to

  and maintaining and increasing position in MS -1 3, an enterprise engaged in racketeering activity,

  while aiding and abetting each other, did knowingly and intentionally murder G.V.P., in violation

  of Florida Statutes 782.04(1) and (2), and 777.0 11.

            In violation of Title 18, United States Code, Sections 1959(a)(l) and 2.

                                      NOTICE OF SPECIAL FINDINGS

            The Grand Jury finds that:

  I.        Special Findings as to Count 1

            Pursuant to Chapter 228 (Sections 359 1 through 3599) of Title 18 of the United States

  Code, the fo llowing factors exist regarding defendants JOSE EZEQUIEL GAMEZ-

  MARA VILLA, a/k/a "Chango," HUGO ADIEL BERMUDEZ-MARTINEZ, a/k/a "Blue,"

  and WILBER ROSENDO NAVARRO-ESCOBAR, a/k/a "Power," and their commission of

  the offenses charged in Count 1, the allegations of which are fully re-alleged and incorporated

  herein by this reference.


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     A. Statut01y Factors Enumerated Under Title 18, United States Code, Section 359 l(a).

         1.      Defendants' Ages.        Defendants JOSE EZEQUIEL GAMEZ-MARA VILLA,

  a/k/a "Chango," HUGO ADIEL BERMUDEZ-MARTINEZ, a/k/a "Blue," and WILBER

  ROSENDO NAVARRO-ESCOBAR, a/k/a "Power," were each 18 years of age or older at the

  time they committed the offense. Title 18, United States Code, Section 3591(a).

         2. Defendants' Mental State.

              a. Defendants JOSE EZEQUIEL GAMEZ-MARA VILLA, a/k/a "Chango,"

  HUGO ADIEL BERMUDEZ-MARTINEZ, a/k/a "Blue," and WILBER ROSENDO

  NAVARRO-ESCOBAR, a/k/a "Power," intentionally ki lled the victim, G.V.P. Title 18, United

  States Code, Section 359 l (a)(2)(A).

              b. Defendants JOSE EZEQUIEL GAMEZ-MARA VILLA, a/k/a "Chango,"

  HUGO ADIEL BERMUDEZ-MARTI EZ, a/k/a "Blue," and WILBER ROSENDO

  NAVARRO-ESCOBAR, a/k/a "Power," intentionally inflicted serious bodily injury that

  resulted in the death of the victim, G.V.P. Title 18, United States Code, Section 359 1(a)(2)(B).

              c. Defendants JOSE EZEQUIEL GAMEZ-MARA VILLA, a/k/a "Chango,"

  HUGO ADIEL BERMUDEZ-MARTINEZ, a/k/a "Blue," and WILBER ROSENDO

  NAVARRO-ESCOBAR, a/k/a "Power," intentionally patiicipated in an act, contemplating that

  the life of a person would be taken or intending that lethal force would be used in connection with

  a person, other than one of the participants in the offense, and the victim, G.V.P., died as a result

  of the act. Title 18, United States Code, Section 3591(a)(2)(C).

              d. Defendants JOSE EZEQUIEL GAMEZ-MARA VILLA, a/k/a "Chango,"

  HUGO ADIEL BERMUDEZ-MARTINEZ, a/k/a "Blue," and WILBER ROSE DO

  NAVARRO-ESCOBAR, a/k/a "Power," intentionally and specifically engaged in an act of
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  violence, knowing the act created a grave risk of death to a person, other than one of the

  participants in the offense, such that participation in the act constituted a reckless disregard for

  human life and the victim, G.V.P. , died as a direct result of the act. Title 18, United States Code,

  Section 3 591 (a)(2)(D).



                                                        A TRUE BILL




~ HAYDEP. O'BYRNE              ~--
  UNITED STATES ATTORNEY




  BRIAN DOBBINS
  ASSIST ANT UNITED STATES ATTORNEY




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                                         UNITED ST ATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                               25-CR-20102-RUIZ/LOUIS
                                                             CASE NO.: - ----------------
v.
JOSE EZEQUIEL GAMEZ-MARA VILLA,                             CERTIFICATE OF TRIAL ATTORNEY
a/k/a "Chango," et al.,
- - - - - - - - - - - - - - - - -I                          Superseding Case Information:
                  Defendants.                               New Defendant(s) (Yes or No) _ _
Court Division (select one)                                 N umber of ew Defendants - -
   E] Miami       O Key West              □ FTP             Total number of new counts - -
          □ FTL           □ WPB

I do hereby certify that:
   I.   I have carefully considered the allegations of the Indi ctment, the number of defendants, the number of probable
        witnesses and the legal com plexities of the Indi ctment/Informat ion attached hereto.
  2.    I am aware that the information supplied on this statement wi ll be relied upon by the Judges of this Court in setting
        their calendars and schedul ing criminal trials under the mandate ofthe Speedy Trial Act, 28 U.S.C. §3161.

     3.     Interpreter: (Yes or N o ) ~
            List language and/or dialect:_S~p_an_i_sh_ _ _ __

     4.     This case wi ll take 15 days for the parties to try.
     5.     Please check appropriate category and type of offe nse li sted below:
            (Check onl y one)                       (Check onl y one)
           1 D Oto 5 days                        □ Petty
           II D 6 to 10 days                     □ Minor
           TIT  El
                11 to 20 days                    D Misdemeanor
           IV D 2 1 to 60 days                   El Felony
           V D 61 days and over

     6.     Has this case been previously filed in thi s District Court? (Yes or o) _N_o _
            If yes, Jud ge _ _ _ _ _ _ _ _ _ _ _ Case No. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     7.     Has a complaint bee n filed in this matter? (Yes or No) No  __;__

            If yes, Judge _ _ _ _ _ _ _ _ _ _ _ Magistrate Case No. _ _ _ _ _ _ _ _ _ _ _ _ __
     8.     Does this case relate to a previo usly filed matter in thi s District Co urt? (Yes or No) Yes
            If yes, Judge Rodolfo A. Ruiz II                   Case No .22-CR-60078-RUIZ(s)(s)
     9.     Defendant(s) in federa l custody as of _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     10.    Defendant(s) in state custody as of _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     11.    Rule 20 from the _ _ _ _ _ District of _ _ _ _ _ __
     12.    Is this a potential death penalty case? (Yes or No) Yes
     13.    Does this case originate from a matter pending in the Central Region of the U.S. Attorney ' s Office
            pri or to October 3, 20 19 (Mag. Judge Jared M. Strauss)? (Yes or N o ) ~
     14.    Did this matter invo lve the part icipation of or co nsultation with Magistrate Jud ge Eduardo I. Sanchez
            durin g his tenure at th e U.S. Atto rney ' s Office, wh ich concluded on January 22, 2023? _N_
                                                                                                          o_
     15.    Did this matter involve the participation of or co nsu ltati on with Magistrate Judge Marty Ful gueira
            Elfenbein during her tenure at the U.S. Attorney's Office, which concluded on March 5, 2024? _N_o _
     16.    Did this matter invo lve the participation of or consultation w ith Magistrate Judge E llen F. D'Angelo
            during her tenure at the U.S. Attorney' s Offic~~w"           c\u: :n~                         o



                                                                 : t : ! iobbins
                                                                 Ass istant United States Attorney
                                                                 SDFL Co urt ID o. A550 1182
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                         PENALTY SHEET

   Defendant's Name: JOSE EZEQUIEL GAMEZ-MARAVILLA, a/k/a "Chango"

   Case No:

   Count #: 1

   Murder in Aid of Racketeering

   Title 18, United States Code, Section 1959(a)(l)

   * Max. Term of Imprisonment: Death
   * Mandatory Min. Term of Imprisonment (if applicable): Life
   * Max. Supervised Release: 5 years
   * Max. Fine: $250,000




   *Refers only to possible term of incarceration, does not include possible fines, restitution,
            special assessments, parole terms, or forfeitures that may be applicable.
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                         PENAL TY SHEET

   Defendant's Name: HUGO ADIEL BERMUDEZ MARTINEZ, a/k/a "Blue"

   Case No:

   Count #: 1

   Murder in Aid of Racketeering

   Title 18, United States Code, Section 1959(a)(l)

   * Max. Term of Imprisonment: Death
   * Mandatory Min. Term of Imprisonment (if applicable): Life
   * Max. Supervised Release: 5 years
   * Max. Fine: $250,000




   *Refers only to possible term of incarceration, does not include possible fines, restitution,
            special assessments, parole terms, or forfeitures that may be applicable.
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                         PENAL TY SHEET

   Defendant's Name: WILBER ROSENDO NAVARRO-ESCOBAR, a/k/a "Power"

   Case No:

   Count #: 1

   Murder in Aid of Racketeering

   Title 18, United States Code, Section 1959(a)(l)

   * Max. Term of Imprisonment: Death
   * Mandatory Min. Term of Imprisonment (if applicable): Life
   * Max. Supervised Release: 5 years
   * Max. Fine: $250,000




   *Refers only to possible term of incarceration, does not include possible fines, restitution,
            special assessments, parole terms, or forfeitures that may be applicable.
